       Case 5:11-cr-40044-JAR   Document 149   Filed 09/20/11   Page 1 of 4




                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                   Plaintiff,
       vs.                                 Case No. 11-40044-01 thru 09
                                           and 11 thru 16-RDR
DEMETRIO QUESADA, et al.,

                   Defendants.


                                  O R D E R

       This case is before the court upon several motions to extend

time to file pretrial motions.          These motions are unopposed by the

government.

       There are fifteen defendants in this case.           They are charged

with    conspiracy   to    distribute    methamphetamine.       The   original

deadline for filing pretrial motions was on or about June 30, 2011

for most of the defendants in this case.                 That deadline was

extended to September 16, 2011 in an order which designated this as

a complex case and noted that:

       this case is the result of investigations involving more
       than 50 other defendants.     The investigations spanned
       approximately 19 months and involved multiple wiretap
       orders and other orders for the collection of electronic
       information or communication. There were approximately
       30 search warrants executed in connection with these
       investigations.    The government estimates that the
       discovery to be disclosed in this case will exceed 50,000
       pages and involve hundreds of hours of audio recordings.

Doc. No. 59 at p. 3.        The court also stated that as of that date,

June 28, 2011, the discovery had not yet been shared with counsel.
     Case 5:11-cr-40044-JAR   Document 149   Filed 09/20/11   Page 2 of 4




The order further noted that some defendants had not yet appeared

in this court on the charges in this case.        The docket sheet shows

that defendant Soto-Cabrera had her arraignment on July 7, 2011.

Defendant Prado-Cervantez had his arraignment on July 19, 2011, and

defendants Verasa-Barron and Palominos-Tinoco had their arraign-

ments on August 25, 2011.

     The following defendants have filed motions to extend time

past September 16, 2011 to file pretrial motions: Demetrio Quesada

(Doc. No. 132); Geronimo Ortiz (Doc. No. 147); Tracy Tugwell (Doc.

No. 142); Anthony Tugwell (Doc. No. 143); Alberto Verasa-Barron

(Doc. No. 146); Arnulfo Prado-Cervantez (Doc. No. 135); Armando

Yanez-Plancarte (Doc. No. 141); and Onelia Aquino-Rosales (Doc. No.

140). Defendant Ramirez-Villa has filed a broadly stated objection

to extending the motions deadline.

     Defendants Quesada and Prado-Cervantez have asked for an

extension of 60 days.         Most of the remaining motions for an

extension request at least 30 days.      Almost all of the motions for

an extension of time justify the requests on the grounds of the

volume of discovery involved in this case.         Counsel for defendant

Aquino-Rosales notes that his client has had a massive stroke which

has made it more difficult for counsel to engage in discussions.

Counsel for defendant Yanez-Plancarte has noted that additional

discovery was served upon counsel about the beginning of September.

Counsel for defendant Verasa-Barron noted that he began working on


                                     2
      Case 5:11-cr-40044-JAR   Document 149          Filed 09/20/11   Page 3 of 4




this matter on August 25, 2011 when his client was arraigned.                       In

general, counsel have also noted that they have busy schedules and

need additional time to properly represent their clients and to

discuss whether and what kinds of motions to file and plea options.

      The court has previously reviewed the factors the court should

consider before determining whether an extension of time is in the

interests of justice for the purposes of the Speedy Trial Act, 18

U.S.C. § 3161(h)(7).      Doc. No. 59 at pp. 2-4.             Upon careful review

of these factors and the motions and opposition filed thereto, the

court has decided to extend the pretrial motions deadline to

October 21, 2011. The government shall have time until November 4,

2011 to respond to defendants’ motions.                The court shall conduct a

hearing upon the motions on November 18, 2011 at 9:30 a.m.                          The

court finds that this extension of time is in the interests of

justice pursuant to 18 U.S.C. § 3161(h)(7).

      In reaching this decision, the court has considered the

objection of defendant Ramirez-Villa.                 While this objection does

not   request   severance      of   his       case   from    that     of   the   other

defendants, a severance would be required if the court were to

avoid the risk of requiring the other defendants to go to trial

without effective preparation.            A severance, however, would work

against the judicial preference for joint trials and would promote

inefficiency and inconsistency.               See Zafiro v. United States, 506

U.S. 534, 537 (1993); U.S. v. Zapata, 546 F.3d 1179, 1191 (10th


                                          3
       Case 5:11-cr-40044-JAR   Document 149   Filed 09/20/11   Page 4 of 4




Cir.) cert. denied, 129 S.Ct. 2069 (2008).          The court believes the

objection of defendant Ramirez-Villa must be turned aside.

       IT IS THEREFORE ORDERED that defendants’ motion for extensions

of time (Doc. Nos. 132, 135, 140, 141, 142, 143, 146 and 147) are

granted and this case shall proceed upon the above-announced

schedule.       The   continuance   granted    by   this   motion    shall    be

considered excludable time for the purposes of the Speedy Trial

Act.

       IT IS SO ORDERED.

       Dated this 20th day of September, 2011 at Topeka, Kansas.


                                    s/Richard D. Rogers
                                    United States District Judge




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